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Litigation Guarantee
First American Title” |x
First American Title Insurance Company

GUARANTEE NUMBER

Guarantee 5015830-0002507¢

SUBJECT TO THE LIMITATIONS CONTAINED HEREIN, THE EXCLUSIONS FROM COVERAGE, THE LIMITS OF LIABILITY AND OTHER
PROVISIONS OF THE CONDITIONS AND STIPULATIONS HERETO ANNEXED AND MADE A PART OF THIS GUARANTEE,

FIRST AMERICAN TITLE INSURANCE COMPANY
a Nebraska corporation, herein called the Company

GUARANTEES

the Assured named in Schedule A against loss not oxcecding the liabitity amount stated in Schedule A which the Assured shall sustain by reason of
any incorrectness in the assurance which the Company hereby gives that, according fo the public records, as of Date of Guarantee shown in

Schedule A:
4. The title to the herein described estate or interest is vested In the vestee named in Schedule A.

2. Except for he mailers shown in Schedule B, there are no defects, liens, encumbrances or other matters affecting title to the estate or interest in
the land shown in Schedule A, which matters are not necessarily shown in the order of their priority.

3. a) The current interest holders claiming some right, title or interest by reason of the matters shown in Part {! of Schedule B are as shown
therein. The vestee named in Schedule A and parties claiming to have some tight, litle or interest by reason of the matters shown in Part Il
of Schedule B may be necessary to name defendant in an action, the nature of which is referred to in Schedule A.

b) The current interest holders claiming some right, title or interest by reason of the matters shown in Parl 1 of Schedule B may also be
necessary to name defendant in an action, the nature of which is referred to in Schedule A. However, no assurance is given hereby as to

those current inlerest holders.

4. The return address for mailing after recording, if any, as shown on each and every document referred fo in Part II of Schedule B by specific
recording information, and as shown on the document(s) vesting title as shown in Schedule A are as shown in Schedule C.

THIS LITIGATION GUARANTEE (8 FURNISHED SOLELY FOR THE PURPOSE OF FACILITATING THE FILING OF THE ACTION REFERRED
TO IN SCHEDULE A. IT SHALL NOT BE USED OR RELIED UPON FOR ANY OTHER PURPOSE.

namserovity
jeveaioanint

First American Title Insurance Company For Reference:

; File #: 4766
! nef Meh issued By:
i Valley County Abstract Company, Inc.
Penis J. Gilmore, President 431 Second Avenue South, P.O. Box 26

J heey LE Glasgow, MT 59230

Greg L. Smith, Secretary

This jacket was created electronically and constitutes an original document

EXHIBIT

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’ Policy #: 5015830-0002507¢

SCHEDULE OF EXCLUSIONS FROM COVERAGE OF THIS GUARANTEE

Except to the extent that specific assurances are provided in
Schedule A of this Guarantee, fhe Company assumes no liability
for loss or damage by reason of the following:

(a) Defecis, liens, encumbrances, adverse claims or other
matters against the tille, whether or not shown by the public
records.

(b) (1) Taxes or assessments of any taxing authority that levies
taxes or assessments on real property; or, (2) Proceedings
by a public agency which may result in taxes or assessments,
or notices of such proceedings, whether or not the matters
excluded under (1) or (2) are shown by the records of the
taxing authority or by the public records.

(c} (1) Unpatented mining claims; (2) reservations or exceptions
in patents or in Acts authorizing the issuance thereof; (3)
water rights, claims or tile to water, whether or not the
matters excluded under (1), (2) or (3) are shown by the public
records.

Notwithstanding any specific assurances which are provided in

Schedule A of this Guarantee, the Company assumes no liability.

for loss or damage by reason of the following:

(a) Defects, liens, encumbrances, adverse claims or other
maiters affecting the title to any property beyond the lines of
the Jand expressly described in the description set forth in
Schedule (A), (C) or in Part 2 of this Guarantee, or tille to
streets, roads, avenues, lanes, ways or waterways to which
such land abuts, or the right fo maintain therein vaults,
tunnels, ramps or any siructure or improvements; or any
rights or easements therein, unless such property, rights or
easements are expressly and specifically set forth in said
description.

(b) Defects, liens, encurnbrances, adverse claims or other
matters, whether or not shown by ihe public records; (1)
which are created, suffered, assumed or agreed to by one or
more of the Assureds; (2} which result in no loss to the
Assured; or (3) which do not resull in the invalidity or potential
invalidity of any judicial or non-judicial proceeding which is
within the scope and purpose of the assurances provided.

(c}) The identity of any party shown or referred to in Schedule A.

(d) The validily, legal effect or priority of any matter shown or
referred to in this Guarantee.

GUARANTEE CONDITIONS AND STIPULATIONS

Definition of Terms.

The following terms when used in the Guaranlee mean:

(a) the "Assured": the parly or parties named as the Assured in
this Guarantee, or on a supplemental writing executed by the
Company.

(b) “land”: the land described or referred to in Schedule (A){C} or
in Part 2, and improvements affixed thereto which by law
constilute real property. The term "land" does not include any
properly beyond the lines of the area described or referred to
in Schedule (A}(C) or in Part 2, nor any right, title, interest,
estate or easement in abutting streets, roads, avenues,
alleys, lanes, ways or waterways.

(c) "mortgage": mortgage, deed of trust, trust deed, or other
security instrument.

{d) "public records”: records established under state statutes at
Date of Guarantee for the purpose of imparting constructive
notice of matters relating to real property to purchasers for
value and without knowledge.

(e} "date": the effective date.

Notice of Claim to be Given by Assured Claimant.

An Assured shall notify the Company promptly in writing in case

knowledge shall come to an Assured hereunder of any claim of

tile or interest which is adverse to the title to ihe estate or interest,
as stated herein, and which might cause loss or damage for which
the Company may be liable by virtue of this Guarantee, If prompt
notice shall not be given to the Company, then all liability of the

Company shall terminate with regard to the matter or matters for

which prompt notice is required; provided, however, that failure to

notify the Company shall in no case prejudice the rights of any

Assured unless the Company shall be prejudiced by the faiture and

then only fo the extent of the prejudice.

No Duty to Defend or Prosecute,

The Company shall have no duty to defend or prosecute any

action or proceeding to which the Assured is a_ party,

notwithstanding the nature of any allegation in such aclion or
proceeding,

Company's Option to Defend or Prosecute Actions; Duty of

Assured Claimant to Cooperate.

Even though the Company has no duty to defend or prosecute as

set forth in Paragraph 3 above:

(a) The Company shall have the right, at its sole option and cost,
to institule and prosecute any action or proceeding, interpose
a defense, as limited in (b), or to do any other act which in its
Opinion may be necessary or desirable to establish the title to
the estate or interest as stated herein, or to establish the lien
tights of the Assured, or to prevent or reduce loss or damage
to the Assured. The Company may take any appropriate
action under the terms of this Guarantee, whether or not it
shall be liable hereunder, and shall not thereby concede
liability or waive any provision of this Guarantee. if the
Company shall exercise its rights under this paragraph, il
shaif do so diligently.

{b) Jf the Company efects to exercise its options as stated in
Paragraph 4(a) the Company shall have the right to select
counsel of its choice (subject to the right of such Assured to
object for reasonable cause) to represent the Assured and
shall not be liable for and will nol pay the fees of any other
counsel, nor will the Company pay any fees, costs or
expenses incurred by an Assured in the defense of those
causes of action which allege matters not covered by this
Guarantee,

(c) Whenever the Company shall have brought an action or
interposed a defense as permitted by the provisions of this
Guarantee, the Company may pursue any litigation to final
determination by a court of competent jurisdiction and
expressly reserves the tight, in its sole discretion, to appeal
from an adverse judgment or order.

(d) In all cases where this Guarantee permits the Company to
prosecute or provide for the defense of any action or
ptoceeding, an Assured shall secure to the Company the right
to so prosecute or provide for the defense of any action or
proceeding, and all appeals therein, and permit the Company

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Montana

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to use, at its option, the name of such Assured for this
purpose. Whenever requested by the Company, an Assured,
at the Company's expense, shall give the Company all
reasonable aid in any action or proceeding, securing
evidence, obtaining witnesses, prosecuting or defending the
action or lawful act which in the opinion of the Company may
be necessary or desirable to establish the title to the estate or
interest as stated herein, or to establish the lien rights of the
Assured. If the Company is prejudiced by the failure of the
Assured to furnish the required cooperation, the Company's
obligations to the Assured under the Guarantee shall
terminate.

5. Proof of Loss or Damage.

In addition to and after the notices required under Section 2 of
these Conditions and Stipulations have been provided to the
Company, @ proof of loss or damage signed and sworn to by the
Assured shall be furnished to the Company within ninety (90) days
after the Assured shall ascertain ihe facts giving rise to the loss or
damage. The proof of loss or damage shall describe the matters
covered by this Guarantee which constitute the basis of loss or
damage and shall state, fo the extent possible, the basis of
calculating the amount of the loss or damage. If the Company is
prejudiced by the failure of the Assured fo provide the required
proof of loss or damage, the Company's obligation to such assured
under the Guarantee shall terminate. In addition, the Assured may
reasonably be required to submit to examination under oath by any
authorized representative of the Company and shall produce for
examination, inspection and copying, at such reasonable times
and places as may be designated by any authorized
representative of the Company, all records, books, ledgers,
checks, correspondence and memoranda, whether bearing a date
before or afler Date of Guarantee, which reasonably pertain to the
loss or damage. Further, if requested by any authorized
representalive of the Company, the Assured shall grant its
permission, in writing, for any authorized representative of the
Company fo examine, inspect and copy all records, books,
ledgers, checks, correspondence and memoranda in the custody
or control of a third party, which reasonably pertain to the loss or
damage. All information designated as confidential by the Assured
provided to the Company pursuant to this Section shall not be
disclosed to others unless, in the reasonable judgment of the
Company, it is necessary in the administration of the ciaim.
Failure of the Assured to submit for examination under oath,
produce other reasonably requested information or grant
permission lo secure reasonably necessary information from third
parties as required in the above paragraph, unless prohibited by
law or governmental regulation, shall terminate any liabilily of the
Company under this Guarantee to the Assured for that claim.
Options to Pay or Otherwise Settle Claims: Termination of
Liability.
In case of a claim under this Guarantee, the Company shall have
the following additional options:
(a) To Pay or Tender Payment of the Amount of Liability or to
Purchase the indebtedness.
The Company shall have the option to pay or setlle or
compromise for or in the name of the Assured any claim
which could result in loss to the Assured within the coverage
of this Guarantee, or to pay the full amount of this Guarantee
of, if this Guarantee is issued for the benefit of a holder of a
mortgage or a lienholder, the Company shall have the option

GUARANTEE CONDITIONS AND STIPULATIONS (Continued)

to purchase the indebtedness secured by said morlgage or
said lien for the amount owing thereon, together with any
costs, reasonable alforneys' fees and expenses incurred by
the Assured claimant which were aulhorized by the Company
up to the lime of purchase.
Such purchase, payment or tender of payment of the full
amount of the Guarantee shall terminate ail liability of the
Company hereunder. in the event after notice of claim has
been given to the Company by the Assured the Company
offers to purchase said indebtedness, the owner of such
indebtedness shall transfer and assign said indebtedness,
together with any collateral security, to the Company upon
payment of the purchase price.
Upon the exercise by the Company of the option provided for
in Paragraph (a) the Company's obligation fo the Assured
under this Guarantee for the claimed loss or damage, other
than to make the payment required in that paragraph, shall
terminate, including any abligation to continue the defense or
prosecution of any litigation for which the Company has
exercised its options under Paragraph 4, and the Guarantee
shall be surrendered to the Company for cancellation,

{b) To Pay or Otherwise Sellle With Parlies Other Than the
Assured or Wilh the Assured Claimant.
To pay or otherwise settle with olher parties for or in the
name of an Assured claimant any claim assured against
under this Guarantee, together with any costs, atlorneys' fees
and expenses incurred by the Assured claimant which were
authorized by the Company up to the time of payment and
which the Company is obligated to pay.
Upon the exercise by the Company of the option provided for
in Paragraph (b) the Company's obligation to the Assured
under this Guarantee for ihe claimed loss or damage, other
than to make the payment required in that paragraph, shall
terminate, including any obligation to continue the defense or
prosection of any litigation for which the Company has
exercised its options under Paragraph 4.

7. Determination and Extent of Liabllity.

This Guarantee is a contract of Indemnity agains! actual monetary
loss or damage sustained or incurred by the Assured claimant who
has suffered loss or damage by reason of reliance upon the
assurances set forth in this Guarantee and only to the extent
herein described, and subject to the Exclusions From Coverage of
This Guarantee,

The liability of the Company under this Guarantee to the Assured

shall not exceed the least of:

(a) the amount of liability stated in Schedule A or in Part 2;

(b) the amount of the unpaid principal indebtedness secured by
ine mortgage of an Assured mortgagee, as limited or
provided under Section 6 of these Conditions and Stipulations
or as reduced under Sectlon 9 of these Conditions and
Stipulations, at the time the loss or damage assured against
by this Guarantee occurs, together with interest thereon; or

(c) the difference between the value of the estate or interest
covered hereby as stated herein and the value of the estate
or inferesi subject to any defect, lien or encumbrance assured
against by this Guarantee.

Limitation of Liability.

(a) If the Company establishes the title, or removes the alleged
defect, lien or encumbrance, or cures any other matter
assured against by this Guarantee in a reasonably diligent

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Montana

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- Policy # 5015830-0002507e

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manner by any method, including liligation and the completion
of any appeals therefrom, it shall have fully performed its
obligations with respect fo that mailer and shall not be liable
for any loss or damage caused thereby.

(b} In the event of any litigation by the Company or with the
Company's consent, the Company shall have no liability for
loss or damage until there has been a final determination by a
court of competent jurisdiction, and disposition of all appeals
therefrom, adverse to the title, as stated herein.

{c) The Company shall not be Hable for loss or damage to any
Assured for liability voluntarily assumed by the Assured in
setlling any claim or suit without the prior written consent of
the Company.

Reduction of Liability or Termination of Liability.

All payments under this Guarantee, except payments made for

costs, altorneys' fees and expenses pursuant to Paragraph 4 shall

reduce the amount of liability pro tanto.

Payment of Loss.

(a) No payment shall be made without producing this Guarantee
for endorsement of the payment unless the Guarantee has
been fost or destroyed, in which case proof of loss or
destruction shall be furnished to the satisfaction of the
Company.

(b) When liability and the exlent of loss or damage has been
definitely fixed in accordance with these Conditions and
Stipulations, the loss or damage shall be payable within thirly
(30) days thereafter,

Subrogation Upon Payment or Settlement.
Whenever the Company shall have settled and paid a claim under
this Guarantee, all right of subrogation shalt vest in the Company
unaffected by any act of the Assured claimant.
The Company shall be subrogated to and be entitled to all rights
and remedies which the Assured would have had against any
person or property in respect to the claim had this Guarantee not
been issued. If requested by the Company, the Assured shall
transfer to the Company all rights and remedies againsl any
person or properly necessary in order to perfect this right of
subrogation. The Assured shall permit the Company to sue,
compromise or settle in the name of the Assured and to use the
name of the Assured in any transaction or litigation involving these
rights or remedies.

If a payment on account of a claim does not fully cover lhe loss of

the Assured (he Company shall be subrogated to all rights and

remedies of the Assured after the Assured shall have recovered its
principal, interest, and costs of collection.

12.

13.

GUARANTEE CONDITIONS AND STIPULATIONS (Continued)

Liability Limited to This Guarantee; Guarantee Entire

Contract.

(a) This Guarantee {together wilh all endorsements, if any,
attached hereto by the Company is the entire Guarantee and
contract between the Assured and the Company. In
interpreting any provision of this Guarantee, this Guarantee
shall be construed as a whole.

(b) Any claim of loss or damage, whether or not based on
negligence, or any action asserting such claim, shall be
restricted to this Guarantee.

(c)} No amendment of or endorsement to this Guarantee can be
made except by a writing endorsed hereon or attached hereto
signed by either ihe President, a Vice President, the
Secretary, an Assistant Secretary, or validating officer or
authorized signatory of the Company.

Notices, Where Sent.

All notices required to be given the Company and any statement in

writing required to be furnished the Company shall include the

number of this Guarantee and shall be addressed to the Company
al First American Title insurance Company, Attn: Claims

National intake Center, 1 First American Way, Santa Ana,

California 92707.

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Litigation Guarantee, CLTA #1 (12-16-92)
Montana

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‘ . _, | Litigation Guarantee
First American Title

ISSUED BY
First American Title Insurance Company

Guarantee Number

5015830-0002507e

Schedule A

Order No. 4766 Liability $950,000.00
Date of Guarantee: January 3, 2022 at 7:00 A.M. Fee $2,475.00
1. Name of Assured:

Joey Breitenbach, Hedger Friend, PLLC

2, This Litigation Guarantee is furnished solely for the purpose of facilitating the filing of an
action to:

File a quiet title action / corporate dissolution action

3. The estate or interest in the Land which is covered by this guarantee is:

Fee simple

4, Title to the estate or interest in the Land is vested in:

Milk River Hunting Preserve, LLC

Farin SousRoa-Ala/1 fg) Page 4 of) CLA) Laigetion Guareatee (12-10-93)
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Order No. 4766
5015830-0002507e

Ss, The Land referred to in this Guarantee is described as follows:

Township 28 North, Range 4] East, MPM

Section 28:

Section 28:

Section 29:

Section 29:
Section 29:
Section 30:

NWYNW'4

EXCEPTING THEREFROM the Railroad and Highway Right of Way described as
follows:

Beginning at the Northwest Section corner of Section 28; thence S. OD 09' W, a
distance of 330.00 feet along the west section line of said Section 28 to the true point of
beginning; thence S. 0D 09' W. continuing along the section line a distance of 344.28
feet; thence S. 71D 44' 58" E. a distance of 1392.74 feet; thence N. OD 13'32" B. along
the 1/16 section line a distance of 334.88 feet; thence N. 71D 23' 18" W. along the
Highway R/W line a distance of 696.00 feet to highway station 5034-00; thence N. 18D
36' 42." Ri. a distance of 20 feet; thence N. 71D 23' 18" W. along the Highway R/W line
a distance of 700.11 feet to the point of true beginning.

ALSO EXCEPTING therefrom all of the lands north of the U.S. Highway No. 2
located in the NW4“NW% Section 28, Township 28 North, Range 41 Bast, MPM, (Deed
reference: Book 124 Deeds page 852, Doc. No. 36749)

EXCEPTING therefrom lands conveyed to the State of Montana Highway
Commission and more particularly described in book 65 of Deeds on pages 613-614.

A strip or piece of land 185 feet wide in the EANW'4 lying between two lines parallel
to and distant respectively, 75 feet and 260 feet southwesterly, measured at right angles,
from the center line of the main track of the railway of the Great Northern (now
Burlington Northern) Railway Company, as now located and constructed. (Deed
reference book 63 MRE pages 27-28)

All that part of the right of way of the railway of Great Northern, now Burlington
Northern, lying between two lines parallel to and distant, respectively, 75 feet and 260
feet Southwesterly, measured at right angles from the centerline of the railway of the
Great Northern Railway (now Burlington Northern) Company, as now located and
constructed and extending from the East line of said Section 29 Northwesterly to a line
drawn at a right angle to said centerline of railway at a point therein distant
Northwesterly 800 fect, measured along said center line, from its intersection with the
East line of said Section 29. (Deed reference book 61 MRE pages 323-328)

Lots 6, 7, 13, 15, SANE
Lots 1, 2, 5, 8, 10, 11, NY“NE' less railroad and highway right-of-way
Lot 23

Township 28 North, Range 41 East, MPM

Section 28:

Lots 2, 3, 8, 10, SWANW'A, NWSW
EXCEPTING from Lot 2 a tract of land more particularly described in book 17 of Deeds
on pages 42-43, Doc. No, 53396 - to Great Northern Railway Company

Situated in Valley County, Montana

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. . . Litigation Guarantee
First American Title

ISSUED BY
First American Title Insurance Company

Guarantee Number

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Schedule B

Order No. 4766

Defects, liens, encumbrances or other matters affecting title:

Part |

I.

Taxes for 2021 are in the amount of $5,025.17 — 1* installment is delinquent in the amount of
$2,527.64, plus penalty and interest; 2" installment in the amount of $2,497. 531 is due and payable

on or before May 31, 2022.

Taxes for 2022 are now a lien but not yet due and payable. Tax Parcel ID #1002896000,
#1000407102.

Public right and easements for commerce, recreation, navigation and fishery for any and all rivers
and creeks.

The title to a portion of this land may have been lost due to changes in the mean low water line of
the Milk River. The policy is subject to any claim or loss arising from the mean low water line not
being coincidental with the original Government Survey and the policy is subject to any loss or
claim arising from lands which may be have acquired through accretion, alluvion or changes in the

river channel.

Right, title and interest of the State of Montana within the natural bed of the Milk River below the
ordinary low water line, and also excepting any artificial accretions waterward of said ordinary low

water line,

Easement for Right of Way dated October 24, 1951 recorded November 21, 1951, book 23 page
152; to Gertrude P. Kjellman - first party hereby grants unto second party an casement for right of
way purposes, a strip of land described as being East 30 feet of the EANW', lying south of the
Great Northern Right of way Section 28, Township 28 North, Range 41 East, MPM. The intention
of this easement is to grant unto second party a right of way of travel from the present road
paralleling the G.N. right of way and her farm unit lying in Section 28, Township 28 North, Range

41 East, MPM.

Easement and Right of Way Contract dated December 11, 1973 recorded December 28, 1977 at
9:00 A.M., recorded in book 59 of MRE on page 641, Doc. No. 17184; to Valley Rural Telephone
—SWANE Section 29, Township 28 North, Range 41 East, MPM.

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5015830-0002507e

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Main Pipeline Easement and Temporary Construction Easement dated March 27, 2018 recorded
June 3, 2019 as Doc. No, 166353; to Dry Prairie Rural Water Authority ~ Lots 1, 2, 5, 8, 10, 11,
NANEY, less 11 ac Hwy & RR Section 29, Township 28 North, Range 41 East.

Branch Pipeline Easement and Temporary Construction Easement dated March 27, 2018 recorded
June 3, 2019 as Doc. No. 166389; to Dry Prairie Rural Water Authority — Lots 6, 7, 13, 15, SANE

Section 29, Township 28 North, Range 41 East.

Any loss or claim from any discrepancies in locations of the actual right of way lines not being as
shown on Plat filed March 24, 1981 at 9:00 A.M., Doc. No. 33722; Misc. File No. 21598 or any
claim arising from any difference in the meander line of the Milk River as it does now exist with
the meander line as shown on the original government survey.

Matters disclosed in Resolution No. 3-2009 filed March 27, 2009 as Doc. No. 138958; regarding
the Wokal Field / Glasgow International Airport affected areas.

County road right-of-ways not recorded and indexed as a conveyance in the office of the Clerk and
Recorder pursuant to Title 70, Chapter 21, M.C.A. or roads in place and/or in use.

Lack of a right of access to and from the land. Right of access to and from the land, if any, is not
established of record and assurance of such right of access is excluded form coverage.

Any right, title or interest in any minerals, mineral rights, or related matters including but not limited
to oil, gas, coal and other hydrocarbons, sand, gravel or other common variety materials, and all
rights, rights of entry and easements incidental thereto whether created by grant or reservation, for
the exploration and production of minerals, other mined materials or water, whether or not shown
by the public record.

Form s00a530-C {8/2709}

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§015830-0002507e

Part I]

15. Mortgage dated August 2, 2016 recorded September 16, 2016 at 10:27 A.M., Doc. No. 158989;
Milk River Hunting Preserve LLC to First Interstate Bank to secure the payment of $304,213.05
with interest, and any other obligations secured thereby,

16. Quitclaim of Corporate Interest dated July 20, 2018 — John Kevin Moore to Daytronics, LLC, an
Idaho Limited Liability Company, Entity Number: D3768 at 3313 W. Cherry Lane #806, Meridian

ID 83642.

17. Notice of Lien for Fine and/or Restitution imposed pursuant to the Anti-Terrorism and Effective
Death Penalty Act of 1996 dated May 12, 2021 recorded May 12, 2021 at 4:50 P.M., Doc. No.
173306; United states Attorney’s Office, District of Montana - Name of Defendant / Social Security
Number: John Moore / ***-**-2872; Court Number: CR-17-42-GF-BMM; Date of Entry of
Judgment: January 31, 2019; Court lmposing Judgment: U.S. District Court — District of Montana;
Amount of Fine/Restitution: $2,224,017.00.

END OF SCHEDULE B

Farm 5002540-C — (B/ijog)

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First American Title

Litigation Guarantee

ISSUED BY
First American Title Insurance Company

Schedule C

Guarantee Number

5015830-0002507e

Order No. 4766

Paragraph No:

Schedule A, Paragraph #4

Schedule A, Paragraph #4

Schedule A, Paragraph #4

Schedule A, Paragraph #4

ADDRESSES
Recording Information: Mailing Address:
QCD recorded 11/10/03, Milk River Hunting Preserve, LLC
Book 146 D page 791, PO Box 1724
Doc. No. 123906 Bigfork, MT 59911-1724

QCD recorded 11/10/03,
Book 146 Deeds page 792,
Doc. No. 123908

QCD recorded 11/14/03,
Book 146 Deeds page 804,
Doc. No, 123908

Warranty Deed recorded 12/08/06,
Doc, No. 132582

Operating Agreement of Milk Christopher Travis
River Hunting Preserve, LLC Address Unknown
Dated October 8, 2003

Operating Agreement of Milk John Kevin Moore
River Hunting Preserve, LLC Address Unknown
Dated October 8, 2003

Operating Agreement of Milk Kirk Scoggins
River Hunting Preserve, LLC Address Unknown
Dated October 8, 2003

Forin §oa5830-€

Panasofa (fafa) CURA Ltgation Guersantee (12-16-3234

Montana = Schedhiio C

Case 4:22-cv-00074-BMM Document 100-1 Filed 08/08/23 Page 11 of 11

Order No. 4766
5015830-00025007e

Schedule B, Part II, #15

Schedule B, Part II, #16

Schedule B, Part I, #17

END OF SCHEDULE C

Mortgage recorded 9/16/2016,

Doc. No. 158989;

Notice of Lien filed May 12, 2021,

Doe. No. 173306

First Interstate Bank
Whitefish Branch

306 Spokane Avenue

PO Box 100

Whitefish, MT 59937-0100

Daytronics, LLC, an Idaho
Limited Liability Company,
Entity Number: D3768

3313 W. Cherry Lane #806,
Meridian ID 83642,

U.S. Attarney’s Office
Attn: FLU

2601 Second Avenue N
Suite 3200

Billings, MT 59101

Forr SOt§820-0

Page d of (8/1 feo}

CLITA dh I

Monta

3) GuRsBThee (1216-924

